Case 15-70603 Document 112 Filed in TXSB on 09/14/16 Page 1of5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

IN RE:
JOSE ELIAS SIERRA, JR.
NORMA SIERRA

CASE NUMBER: 15-70603
CHAPTER 13

AMM

MEMORANDUM OF LAW SECTION REGARDING § 1322 (b) (2)
TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW JOSE ELIAS SIERRA, JR., and NORMA SIERRA, hereinafter called Debtor,
whether one or more, and files this Memorandum of Law regarding § 1322 (b)(2) of the United States
Bankruptcy Code and states the following:
1. On October 30, 2015, Villa Donna Development Corp. accelerated its promissory note
dated March 28, 2007, executed by Norma A. Gonzalez, in the original principal sum of $14,000.00,
which note was payable to the order of Villa Donna Development Corp. Thereafter, on November 29,
2015, JOSE ELIAS SIERRA, JR., and NORMA A. GONZALEZ filed their Chapter 13 voluntary
petition. The creditor's claim is in the total amount of $14,220.65 which can be paid within the life of
the five year plan inasmuch that it is a short term note. The note matures on April 1, 2022 and
Debtor should complete its plan on November 29, 2020. The terms of the promissory note are as
follows:
Principal and interest are payable in monthly installments of TWO HUNDRED FIFTEEN AND
46/100THS DOLLARS ($215.46) EACH, applied first to interest and balance to principal, with the
first payment due on or before the 1° day of every month, beginning May 1, 2007, and
continuing consecutively until April 1, 2022 when the entire unpaid balance of principal and
interest shall become due and payable. Past due principal and interest shall bear interest at
the maximum nonusurious rate allowed by law in the state of Texas.

A copy of the note is attached hereto.

2. Simply stated, Section 1322(b)(2) prohibits modification of claims secured solely by a

debtor's principal residence. The rationale, as explained in numerous cases, is Congresses’ intent of

encouraging flow of capital into the home lending market by reducing the mortgagee’s risk. . Litton
Case 15-70603 Document 112 Filed in TXSB on 09/14/16 Page 2 of 5

Loan Servicing, LP v. Beamon, N.D.N.Y. 2003, 298 B.R. 508. In re DeMaggio, Bkrtcy.D.N.H. 1994,
175 B.R. 144. If a thirty year loan can be modified by the courts, there is an obvious reluctance to
finance homestead sales by lenders. The section is intended to protect home mortgage lenders rather
than home owners. /n re Hall, Bkrtcy S.S. Ind. 1990, 117 B.R. 425.

3. But that is not the only intent of the statute, however. As stated in /n re Fountain, this
antimodification provision of Chapter 13 is also to “protect the rights which are bargained for between
mortgagor and mortgagee, as reflected in relevant mortgage instruments enforceable under state law.
In re Fountain, Bkrtcy.D.N.H.1986, 197 B.R. 748. The note signed by Debtors allowed them to pay
the note “on or before” a certain date. If nonbankruptcy law gives the Debtor prepayment rights,
would it have a cause of action in state law against the creditor if the Lender refused to recognize this
right? In this case, the Debtor, through its plan has chosen to pay the entire amount of his obligation
within the five years of the plan and prior to the maturity date of the note. The landmark case
regarding section 1322 (b)(2) is Nobleman v. American Sav. Bank, 508 U.S. 324, a Supreme Court
case. While stating that the banks have rights that are reflected in the relevant mortgage instruments
and that these are rights protected from modification by Section 1322(b)(2), it also stated that these
were rights “bargained for by the mortgagor and the mortgagee”. It is the rare client who is about to
sign a real estate lien note who doesn’t ask, can | pay it off sooner? Indeed, not allowing a Debtor to
pay its note in a shorter time, when allowed in the mortgage documents, would be a violation of
Section 1322(b)(2).

Respectfully submitted,
ROBERTO A. GUERRERO, P.C.
2217 N. 23rd Street

McAllen, Texas 78501

Tel: (956) 631-1394
Fax: (956) 618-5949

By: /S/ Roberto A. Guerrero
Roberto A. Guerrero
State Bar No. 08581450
Attorney for Debtors
Case 15-70603 Document 112 Filed in TXSB on 09/14/16 Page 3of5

CERTIFICATE OF SERVICE
This is to certify that on September 14, 2016, a true and correct copy of the above and

foregoing document was served on all the following:

 

 

 

Cindy Boudloche Mark Alan Twenhafel
Chapter 13 Trustee Walker & Twenhafel, L.L.P.
555 N Carancahua, Ste 600 P.O. Drawer 3766
Corpus Christi, TX 78401-0823 McAllen, TX 78502-3766
US Trustee Jose Sierra, Sr.
606 N Carancahua Norma Alicia Gonzales
Corpus Christi, TX 78401 310 Apollo Drive

Donna, TX 78537

 

 

 

/S/ Roberto A. Guerrero
Roberto A. Guerrero
Case 15-70603 Document 112 Filed in TXSB on 09/14/16 Page 4of5

REAL ESTATE LIEN NOTE

Date: March 28, 2007

 

A. Gonzalez

ty, Texas

ment (principal and interest):

 

become due and payable. Past due principal and interest shall bear interest shall
at the maximum nonusurious rate allowed by law in the State of Texas.

Security for payment:

Villa Donnd Development to Maker and by a deed of trust of even date from Maker to Ronald A.

This note is|secured by a vendor's lien and superior title retained in a deed of even date from
Case, oan both of which cover the following described property, to-wit:

Property Description (including any improvements)

recorded in Volume 27, Page 9, Map Records, Hidalgo County, Texas, reference to which is

Lot 19, ai Donna, Unit No. 2, Hidalgo County, Texas, as per map or plat thereof
here made for all purposes.

Reservations from and Exceptions to Conveyance and Warranty: .
eenere fo
BAGE  / OF

Fis Ske . Boo

 

a

~e OE TES
Case 15-70603 Document 112 Filed in TXSB on 09/14/16 Page 5of5

 

SAVE EXCEPT all Oi, Gas and other Minerals in, on, under or may be produced
from the property.

SUBJECT [0 OLL, Gas and Mineral Leases of record.

SUBJECT [[O Easements of record.

Maker promises to pay to the order of Payee at the place for payment and according to the terms
of payment the principal amount plus interest at the rates stated above. All unpaid amounts shail
be due by the final scheduled payment date.

If Maker defaults in the payment of this note or in the performance of any obligation in any
instrument Securing or collateral to it, and the default continues after Payee gives Maker notice
of the default and the time within which it must be cured, as may be required by law or by
written agrgement, the Payee may declare the unpaid principal balance and earned interest on this
note immediately due. Maker and each surety, endorser, and guarantor waive all demands for
ntations for payment, notices of intention to accelerate maturity, notices of
acceleration of maturity, protests, and notices of protest, to the extent permitted by law.

 

  

any instrument securing or collateral to it is given to an attorney for collection or
enforcemedt, or if suit is brought for collection or enforcement, or if it is collected or enforced
through probate, bankruptcy, or other judicial proceeding, the Maker shall pay Payee all costs of
collection dnd enforcement, including reasonable attorney's fees and court costs, in addition to
other amoults due. Reasonable attorney's fees shall be 10% of all amounts due unless either
party pleads otherwise.

Interest on the debt evidenced by this note shail not exceed the maximum amount of nonusurious
interest that may be contracted for, taken, reserved, charged, or received under law; any interest
in excess of that maximum amount shall be credited on the principal of the debt or, if that has
been paid, tefunded. On any acceleration or required or permitted prepayment, any such excess
shall be canceled automatically as of the acceleration or prepayment or, if already paid, credited
on the printipal of the debt or, if the principal of the debt has been paid, refunded. This
provision overrides other provisions in this and all other instruments concerning the debt.

Each Maker is responsible for all obligations represented by this note.
When the dontext requires, singular nouns and pronouns include the plural

Norma A. Gonzalez

328-07:

PAGE ay OF ot

een

 
